M/| Case 2:04-cr-20202-.]PI\/| Document 24 Filed 08/01/05 Page 1 of 3 Page|D 27
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UNITED srArEs oF AMERICA, \Nll) Or ll‘l‘ l‘*;l‘l"
Plaintiff,
vs. UCQQQ
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MICHAEL BLoCKER, ON mines realm
_l( 't@ ’U.B. DISTRICT Junea
Defendant. @‘@\L’ ~ .-

 

MoTIoN REQUESTING coNTINUAiii'c`E or sUPEvasED RELEASE
vloLATIoN HEARING

 

Comes now the Det`endant, by and through counsel, and respectfully requests that the
currently set hearing of August 4, 2005, at 9:00 a.m. be rescheduled. Counsel would show, for
good cause, the following;

l. The Defendant in this matter is currently participating in some activities of which

both Defense Counsel and the United States Assistant Attorney are aware.

2. These activities are ongoing and, in order to assure continued cooperation, it is

necessary that they continue for at least another sixty (60) days.

3. The Assistant United States Attorney in this matter, Mr. Greg Gilluly, is aware of

this request and joins in the request for continuance

WHEREFORE, PREMISES CONSIDERED, counsel for the Def`endant respectfully
requests that this matter be reset for approximately sixty (60) days so that the Defendant may

continue with the cooperation that he currently providing

Thls document entered en the docket sheet ln compliance
with nu\e 55 and/or az(b) mch on f '/ 195

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Respectl"`ully submitted;

J//,//fj

BILL ANDERSO ,JR. #10363
Attorney for Defendant

142 North Third Street, Third Floor
Memphis, Tennessee 38103

(901) 527-6521

CERTIFICATE OF SERVICE
l certify that a copy ofthe foregoing document has been furnished to the Mr. Greg Gilluly,

Assistant United States Attorney, 167 North Main , Suite 800, Memphis, Tennessee 38103 on

/
this‘;'l 2 day of big , 2005 via- hand delivery.

BY %//c,é\//

BILL ANDERSONY.\'§
Attorney for Defendant

   

UNITED sTATE DRISTIC COUR - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20202 Was distributed by fax, mail, or direct printing on
August 1, 2005 to the parties listedl

 

 

Terrell L. Harris

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Honorable J on McCalla
US DISTRICT COURT

